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IN THE UNITED STATES DISTRICT COURT P2908
FOR THE EASTERN DISTRICT OF VIRGINIA cee eS |

 

 

Alexandria Division (io
)
BMG RIGHTS MANAGEMENT (US) )
LLC, and ROUND HILL MUSIC LP, )
) Civil No. 1:14-cv-1611
Plaintiffs, )
) Hon. Liam O’Grady
v. )
)
COX COMMUNICATIONS, INC., and )
COXCOM, LLC, )
)
Defendants. )
)
ORDER

Before the Court are the parties’ motions in limine and Daubert motions. The motions

are fully briefed and ripe for consideration. The Court heard oral argument on November 20,

2015. Accordingly, it is hereby ORDERED that:

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Cox’s Motion to Exclude the Testimony of Putative Expert William Lehr, Ph.D. (Dkt.
No. 460) is GRANTED in part. Dr. Lehr’s testimony is limited to his profit calculations.
He is not to opine on Cox’s incentives to permit infringement or the economic benefit of
infringement.

Cox’s Motion to Exclude the Testimony of Putative Expert Terrence P. McGarty, Ph.D.
(Dkt. No. 463) is GRANTED in part. Dr. McGarty’s testimony may be relevant to rebut
assertions regarding Cox’s operations.

Cox’s Motion to Exclude the Testimony of Putative Expert Ralph Oman (Dkt. No. 470)

is GRANTED.

 
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Cox’s Motion to Exclude the Testimony of Putative Expert Robert A. Bardwell, Ph.D.
(Dkt. No. 473) is DENIED.

Cox’s Motion to Exclude the Testimony of Putative Expert Stephen M. Nowlis, Ph.D.
(Dkt. No. 477) is DENIED.

Cox’s Motion in Limine No. 1 to Preclude Plaintiffs from Using Rightscorp Notices as
Proof of Infringement (Dkt. No. 532) is DEFERRED. It appears the notices may be
business records or admissible with a limiting instruction, as the notices are relevant to
several issues in Cox’s case as well.

Cox’s Motion in Limine No. 2 to Preclude Plaintiffs from Referring to Mere Use of
BitTorrent or Amount of BitTorrent Infringing Activity as Proof of Infringement (Dkt.
No. 534) is DENIED.

Cox’s Motion in Limine No. 3 to Preclude Plaintiffs from Referring to Cox’s Failure to
Preserve DHCP Logs (Dkt. No. 536) is DENIED.

BMG’s Motion to Exclude Portions of the Expert Report and Limit the Trial Testimony
of Cox’s Expert William Rosenblatt (Dkt. No. 449) is GRANTED.

BMG’s Motion to Exclude the Expert Report, Opinion, and Trial Testimony of Cox’s
Expert Joseph Karaganis (Dkt. No. 453) is GRANTED.

BMG’s Motion to Exclude Ryan Sullivan from Offering Opinions or Testimony
Regarding the Economic Effects of Infringement Over the Cox Network (Dkt. No. 466)
is DENIED.

BMG’s Motion in Limine No. 1 to Exclude Introduction of Irrelevant Information About

Rightscorp, Inc. (Dkt. No. 543) is GRANTED.
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BMG’s Motion in Limine No. 2 to Exclude Evidence Related to the 10% Bitfield
Threshold (Dkt. No. 546) is DENIED. The 10% bitfield threshold may be relevant to
Rightscorp’s operation during the period of alleged infringement.

BMG’s Motion in Limine No. 3 to Prohibit Cox from Referencing the Copyright Alert
System or the DMCA Practices of Other Internet Service Providers (Dkt. No. 550) is
GRANTED.

BMG’s Motion in Limine No. 4 to Exclude Evidence or Argument Concerning the
Communications Decency Act (Dkt. No. 553) is GRANTED.

BMG?’s Motion in Limine No. 5 to Preclude Defendants from Introducing Evidence or
Argument that BMG’s Corporate Parent Was Affiliated with Napster (Dkt. No. 556) is
MOOT.

BMG’s Motion in Limine No. 6 to Exclude Argument that Cox Is Not Liable for
Infringement Over Its Network by Users Other Than Named Account Holders (Dkt. No.
559) is GRANTED in part. Evidence that users other than named account holders and
authorized users undertook directly infringing activity may be used for purposes of cross-
examination.

BMG’s Motion in Limine No. 7 to Preclude Cox and Its Experts from Using Deceptive
Notice and Warning Statistics to Argue that Its “Graduated Response” Is Highly
Effective at Curbing Infringement (Dkt. No. 562) is GRANTED.

BMG’s Motion in Limine No. 8 to Prohibit Cox’s Designated Expert William Rosenblatt

from Opining on the Testimony and Actions of Percipient Witnesses Based on Personal

Conversations (Dkt. No. 565) is GRANTED.
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20. | BMG’s Motion in Limine No. 9 to Exclude Evidence Concerning Other Internet Service
Providers’ Treatment of Rightscorp Inc.’s Notices and Other Infringement Notices
Containing Settlement Offers (Dkt. No. 568) is GRANTED.

21. | BMG’s Motion in Limine No. 10 to Preclude Defendants from Introducing Evidence or
Argument Relating to Purported “Advice of Counsel” (Dkt. No. 571) is GRANTED.
There was no competent advice-of-counsel opinion. Additionally, there was a failure to
timely produce all relevant documents and to timely notice an advice-of-counsel defense.

November 25, 2015
Alexandria, Virginia

/s/ n

Liam O’Grady \
United States District Judge
